             Case 1:11-cv-00736-LEK-CFH Document 432-1 Filed 04/14/15 Page 1 of 1

Albany County
                                                                                                   18
Remedial Redistricting Map
April 13, 2015                                                                       19
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                                                                                                  39 Districts with 5 MMDs
                                                                                                                                     ®
                                                                                          DIST         DIFF   TP_18    %NH_DOJ_B18   %DOJ_B_H18
                                                                                          1            -138    5,454     52.37%        62.69%
                                                                                          2            -348    5,421     58.49%        67.98%
                                                                                          3            -294    5,529     51.42%        58.93%
                                                                                          4            -330    5,383     51.51%        61.92%
                                                                                          6            -384    5,614     50.55%        61.95%

                                                                                          0        1.25 2.5            5       7.5      10
                                                                                                                                         Miles
